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                    UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF TEXAS
                        FORT WORTH DIVISION

     DIANNE DORMAN,

          Plaintiff,

     v.                                              No. 4:24-cv-000024-P

     DEUTSCHE BANK NATIONAL TRUST
     COMPANY ET AL.,

          Defendants.

                                    ORDER
         This case was filed on January 8, 2024. ECF No. 1. At the time of
     filing Plaintiff was proceeding pro se. Id. The case was referred to
     Magistrate Judge Jeffrey L. Cureton. ECF No. 2.

        Subsequently, Plaintiff obtained counsel and is thus no longer
     proceeding pro se in this matter. See ECF No. 9. Consequently, the
     undersigned finds it prudent to withdraw the pretrial referral and
     return this case to the Court’s docket. It is therefore ORDERED that
     the Court’s previous referral of this matter to Judge Cureton is
     RESCINDED. Thus, the Clerk of the Court is DIRECTED to return
     this case to the docket of the undersigned.

          SO ORDERED on this 19th day of November 2024.




                                 MARK T. PITTMAN
                                 UNITED STATES DISTRICT JUDGE
